Case 1:15-cv-09804-PGG-KNF Document 13 Filed 02/19/16 Page 1 of 5

 

 

| USDC SDNY

UNITED STATES DISTRICT COURT D OCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
x DOC #:

|| DATE FILED: Zoe

x
Fae eee

 

 

ne mmmcnearo pases
Tealeemeeeadepatnrnn oe

 

 

JOSE DELEON,

Plaintiff, ORDER OF REMOVAL FROM
MEDIATION UNDER THE § 1983
PLAN and ORDER OF INITIAL
PRETRIAL CONFERENCE

-against-
15-cv-9804 (SAS)

ELVIN PICHARDO and ELVIS DELACRUZ,

Defendant(s)

- -X

 

This case was designated for inclusion in the Plan for Certain § 1983 Cases
Against the City of New York (“the §1983 plan”) on December 18, 2015.

IT IS HEREBY ORDERED that the case be removed from the §1983 plan, any
case tracking deadlines associated with inclusion in the §1983 plan be terminated, and the Clerk

of Court shall remove the “1983-PLAN” case flag.

Counsel are directed to appear at the United States Courthouse, 500 Pearl Street,
New York, Courtroom 15C, on March 4, 2016 at 4:30 p.m., for an initial pretrial conference.
Pursuant to Rule 16, Fed. R. Civ. P., as amended on August 1, 1983, the Court will enter an
order at this conference that limits the time: (1) to join other parties and to amend the pleadings;
(2) to file and hear motions; (3) to set a discovery schedule including the completion of
discovery; (4) to set a trial date and (5) to discuss settlement. Counsel who attend the conference
must be prepared to discuss these issues. Counsel are referred to amended Rule 16 for a list of

further matters which may be discussed at that time.

 

 
Case 1:15-cv-09804-PGG-KNF Document 13 Filed 02/19/16 Page 2 of 5

Pursuant to amended Rule 16(f) the parties shall meet, prior to the date of the
conference, to discuss the nature and basis of their claims and defenses and the possibilities for a
prompt settlement and to develop a proposed discovery plan. The parties should prepare and
submit at the conference a proposed scheduling order on the form attached hereto. YOU MUST
BRING A COMPLETED SCHEDULING ORDER WITH YOU TO THE CONFERENCE!

If this case has been settled or otherwise terminated, counsel are not required to
appear, provided that a stipulation of discontinuance, voluntary dismissal, or other proof of
termination is delivered before the date of the conference to the courtroom deputy clerk to
chambers of Judge Scheindlin, Room 1620, U.S. Courthouse, 500 Pearl Street, New York, New
York 10007. If plaintiff(s)’ counsel intends to move for a default judgment, the Court should be
advised prior to the initial pretrial conference date.

COUNSEL FOR PLAINTIFF(S) ARE DIRECTED TO IMMEDIATELY
NOTIFY ALL ATTORNEYS IN THIS ACTION BY SERVING UPON EACH OF THEM
A COPY OF THIS ORDER. If issue has not been joined but plaintiff(s)’ counsel is aware of
the identity of defendant(s)’ counsel, plaintiff(s)’ counsel is directed to mail a copy of this Order
to defendant(s)’ counsel forthwith. If at the time of the scheduled pretrial conference plaintiff
not yet served the complaint, please advise the Court by letter as to the reason(s) service has not
been made. If at the time of the scheduled pretrial conference there has been no
answer/appearance on behalf of defendant(s), please advise the court. ALL PARTIES MUST
APPEAR AT THIS CONFERENCE EVEN IF YOU ARE UNAWARE OF THE
IDENTITY OF THE DEFENSE COUNSEL.

Attorneys are directed to consult the Judge’s Individual Rules with respect to

adjournments, motion practice, communications with chambers and other relevant matters.

 

 

 
Case 1:15-cv-09804-PGG-KNF Document 13 Filed 02/19/16 Page 3 of 5

Counsel are advised that failure to comply with the terms of this Order may result
in dismissal of the action with prejudice, or the entry of judgment by default.
SO ORDERED:

Dated: New York, New York
February 19, 2016

 

ZShira A. ScKetkdlin, U.S.D.J.

 

 

 
Case 1:15-cv-09804-PGG-KNF Document 13 Filed 02/19/16 ‘Page 4of5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ew eee ew en eee wee eee xX
Plaintiff(s), ,
Civ. (SAS)
- against «
Defendant(s).

SHIRA A. SCHEINDLIN, U~LS.D.J.:

WHEREAS, the Court issued an Order for a Conference i in accordance with Fed. R. Civ. P,
16(b) (the “Order”); and

WHEREAS, the Order requires that the parties jinty p prepare and sign a-proposed |
‘Schéduling Order containing certain information;

- NOW, THEREFORE, the parties hereby submit the following information as required by the
Order:
(1) the date of the conference and the appearances for the parties;
(2) . the date by which automatic disclosures will be exchanged

(3) | a concise statement of the issues as they then appear;

4) a-schédule including:

(da) the names of persons to be deposed and a schedule of planned depositions;
(b) @ schedule for the production of documents;

(c) dates by which (i) each expert's reports will be supplied to the adverse side and
(ii) each expert's deposition will be completed

(d) time when discovery is to be completed;

 

 
"Case 1:15-cv-09804-PGG-KNF Document 13 Filed 02/19/16 Page 5 of 5.

(e) the date by which plaintiff will supply its pré-trial order matters to defendant;

(f) the date by which the parties will submit a pre-trial order in a form conforming with
the Court's instructions together with trial briefs and either (1) proposed findings of fact
and conclusions of law for a non-jury trial, or (2) proposed voir dire questions and
proposed jury instructions, for a jury trial; and

(g) a'space for the date for a final pre-trial conference pursuant to Fed. R. Civ. P. 16(d),
to be filled in by the Court at the conference.

(leave blank)

 

18)

7.
(8)

(9)

q] 6}

 

| ‘a stdfemént of any limitations fo be placed on discovery, including any protective or

confidentiality orders;

‘a statement of those discovery issues, if any, on which counsel, after a good faith effort,

were unable to reach an agreement;
‘diiticipated fields of expert testimony, if any;
‘Gnticipated length of trial and whether to court or jury;

& staténienit that the Scheduling Order may be altered or amended only on a showing of :
good cause not foreseeable at the time of the conference of when justice so requifes;

names, addresses, phone numbers and signatures of counsel;

 

 

|

‘§O6 ORDERED:

 

SHIRA A. SCHEINDLIN

U.S.D.J e

 

 

 
